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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                   01/13/2023

WAYNE BALIGA,
                                                   18 Civ. 11642 (VM)
                            Plaintiff,
                                                   ORDER
                       - against -

LINK MOTION INC. et al.,

                            Defendants.


VICTOR MARRERO, United States District Judge.

     The        court-appointed      receiver,    Robert    W.    Seiden

(“Receiver”), filed a letter dated January 12, 2023 (Dkt. No.

385) in response to the Court’s Order that Link Motion Inc.

(“LKM” or the “Company”) should fund the Receivership Account

to allow the Receiver to timely pay the so-called Maples

Invoice so that the Company maintains its good standing in

the Cayman Islands. (Dkt. No. 384.) The Receiver requests

that, instead of LKM, the Court direct Defendant Vincent

Wenyong Shi (“Shi”), an LKM Director, to personally fund the

Receivership Account in an amount totaling $103,219.51.

     Shi’s personal liability for the unfunded liabilities of

LKM is premised on piercing the corporate veil. The Receiver

acknowledges this, incorporating by reference his brief in

support    of    the    Receiver’s   accounting   where    the   Receiver

expands on the corporate veil piercing theory. (See Dkt. No.

375 at 16-20.) The issue of the Receiver’s accounting is



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separate, is pending and not fully briefed before Magistrate

Judge Figueredo, and will not be resolved before payment on

the Maples Invoice is due. Accordingly, the Court directs Shi

to show cause by January 18, 2023, why the Court should not

grant the Receiver’s request and direct Shi to personally

fund     the    Receivership      Account   in     an    amount    totaling

$103,219.51 to pay the Maples Invoice to keep the Company in

good   standing.     In   doing    so,   Shi     shall   respond    to   the

Receiver’s veil piercing argument.



SO ORDERED.

Dated:         13 January 2023
               New York, New York



                                               _________________________
                                                    Victor Marrero
                                                       U.S.D.J.




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